                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
KEVIN JERMAINE BELL, ET AL.

                         Plaintiffs,
v.                                                                Case No. 17-CV-0605

CITY OF MILWAUKEE,
CHIEF EDWARD FLYNN, et al.,

                  Defendants.
______________________________________________________________________________

                          STIPULATION FOR VOLUNTARY DISMISSAL
                               PURSUANT TO FRCP 41(a)(1)(A)(ii)


        IT IS HEREBY STIPULATED by and between the parties, through their respective attorneys,

that the above-entitled action, together with all causes of action and claims for relief set forth in the

Complaint, shall be dismissed upon its merits, with prejudice, and without costs to any of the parties.


        Dated: July 10, 2018.                             ROHDE DALES LLP

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        Dated: July 10, 2018.                             GRANT F. LANGLEY
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